              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


CALEB REESE, et al.

                    Plaintiffs-Appellants,

       v.                                                        No. 23-30033

BUREAU OF ALCOHOL, TOBACCO,
FIREARMS, and EXPLOSIVES, et al.

                    Defendants-Appellees.


     UNOPPOSED MOTION FOR A 30-DAY EXTENSION OF TIME
        TO FILE A PETITION FOR REHEARING EN BANC

      Defendants-Appellees respectfully request a 30-day extension of time, to and

including April 16, 2025, in which to file a petition for rehearing en banc. The

government has not requested any prior extension of time. Counsel for plaintiffs-

appellants have indicated that they do not oppose this motion.

      There is good cause for an extension for the following reasons.

      1. This case concerns provisions of federal law prohibiting the commercial sale

of handguns to individuals under the age of 21. See 18 U.S.C. §§ 922(b)(1), (c)(1). On

January 30, 2025, a panel of this court held that those provisions “and their attendant

regulations are unconstitutional” under the Second Amendment. Op. 28-29. The
Court reversed the district court’s judgment and remanded for further proceedings.

Any petition for rehearing would be due on March 17, 2025.

      2. The panel’s decision addresses important issues concerning the Second

Amendment. Before the government may file a petition for rehearing en banc, such a

petition must be authorized by the Solicitor General. See 28 C.F.R. § 0.20(b). The

decision whether to seek rehearing, as well as decisions regarding the substance of any

petition, require consultation with and coordination among interested agencies and

components of the Department of Justice.

      In addition, following a change in administration, on February 7, 2025, the

President issued an Executive Order titled Protecting Second Amendment Rights,

https://www.whitehouse.gov/presidential-actions/2025/02/protecting-second-

amendment-rights. Among other things, the Order directs the Attorney General to

review “[t]he positions taken by the United States in any and all ongoing and potential

litigation that affects or could affect the ability of Americans to exercise their Second

Amendment rights.” Id. § 2(b)(v).

      An extension will permit time for this review and ensure that litigation is

informed by the views of current agency leadership.

      3. Counsel for plaintiffs-appellants has indicated that they do not oppose this

motion.
             Respectfully submitted,

             MICHAEL S. RAAB
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             /s/ Steven H. Hazel
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March 2025
                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I hereby certify this motion complies with the

requirements of Fed. R. App. P. 27(d)(1)(E) because it has been prepared in 14-point

Garamond, a proportionally spaced font, and that it complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2)(A) because it contains 317 words, according to

the count of Microsoft Word.


                                              /s/ Steven H. Hazel
                                              Steven H. Hazel
